Case 17-14291      Doc 70     Filed 11/21/22 Entered 11/21/22 15:53:12           Desc Main
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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION
                                              )
 In re: Edward J Mosely                       )              17 B 14291
        Charlene M Cutright                   )
               Debtor(s),                     )              Judge Timothy A. Barnes
                                              )
                                       Notice of Motion
 TO:
 Edward J Mosely                                             Xiaoming Wu,
 Charlene M Cutright                                         Borges and Wu;
 8635 S Constance                                            U.S. Trustee via the Clerk’s ECF
 Chicago, IL 60617                                           noticing procedures

         PLEASE TAKE NOTICE that on December 8, 2022, at 9:00 A.M., I will appear
 before the Honorable Timothy A. Barnes, or any judge sitting in that judge’s place, either in
 Courtroom 744 of the Dirksen Federal Building, 219 South Dearborn, Chicago, Illinois, or
 electronically as described below, and present the Trustee’s Motion to Dismiss Case, a copy
 of which is attached.

        All parties in interest, including the movant, may appear for the presentment of the
 motion either in person or electronically using Zoom for Government.

        You may appear electronically by video or by telephone.

        To appear by video, use this link: https://zoomgov.com/. Then enter the meeting ID
 and passcode.

       To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-
 828-7666. Then enter the meeting ID and passcode.

        Meeting ID and passcode. The meeting ID for this hearing is 161 329 5276, and the
 passcode is 433658. The meeting ID and passcode can also be found on the judge’s page on
 the court’s website.

        If you object to this motion and want it called on the presentment date, you must file
 a Notice of Objection no later than two (2) business days before that date. If a Notice of
 Objection is timely filed, the motion will be called on the presentment date. If no Notice of
 Objection is timely filed, the court may grant the motion in advance without calling it.
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                                     Certificate of Service
        The undersigned certifies that a copy of the foregoing Notice of Motion was served to
 the above listed persons by placing a copy of same in the US mail, first class postage prepaid
 and/or as addressed and by the method indicated above on November 21, 2022.

                                              Marilyn O Marshall, Standing Trustee

                                              /s/ O. Anthony Olivadoti




 Office of the Chapter 13 Trustee
 Marilyn O Marshall
 224 S. Michigan Ave.
 Suite 800
 Chicago, IL 60604
 (312) 431-6533
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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
                                             )
 In re: Edward J Mosely                      )              17 B 14291
        Charlene M Cutright                  )
                                             )
                Debtor(s),                   )              Judge Timothy A. Barnes
                                   Motion to Dismiss Case
        COMES NOW Marilyn O Marshall, Standing Trustee, pursuant to Section

 1307(c)(1), §349, of the Bankruptcy Code and requests that this case be dismissed, and in

 support, states as follows:

 1. This current petition for relief under Chapter 13 of Title 11 USC was filed on May 5,
    2017.

 2. This is a core proceeding under 28 USC §157.

 3. The January 16, 2018, plan in this case, docket 43, was confirmed on January 25, 2018.

 4. The confirmed plan provides in part: “All non-exempt proceeds of the pending litigation
    by the Debtor will be turned over to the Trustee within 7 days of receipt by the Debtor as
    an additional plan payment.”

 5. The Debtor claimed a $15,000.00 exemption in the litigation.

 6. The Debtor received approximately $56,369.03 and $8,655.29 in 2 separate settlements
    according to documents dated March 21, 2019.

 7. These amounts were the net amounts payable to the Debtor.

 8. The Debtor further received a third settlement in the amount of $41,001.15 in a document
    dated December 16, 2021.

 9. Again this amount was the net amount the debtor received.

 10. No funds were turned over to the Trustee from the settlement proceeds.

 11. According to the confirmed plan, Debtor should have turned over to the Trustee
    $91,025.47.
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 12. The turnover provision is a material provision of the confirmed plan.

 13. The debtor is in material default of the turnover provision of the confirmed plan.

        WHEREFORE, Trustee requests that this Court dismiss this case for cause, and for

 any and all other relief this Court deems just and proper.

                                               Respectfully Submitted,
                                               Marilyn O Marshall
                                               /s/ O. Anthony Olivadoti




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